AO 245C (Rev. ) Case
                     Amended2:13-cr-00018-RTB
                             Judgment in a Criminal Case              Document 862             Filed 08/21/18              Page Identify
                                                                                                                           (NOTE: 1 of 11Changes with Asterisks (*))
                     Sheet 1


                                            UNITED STATES DISTRICT COURT
                                                          __________  District
                                                                  District     of __________
                                                                           of Nevada
                UNITED STATES OF AMERICA                                        )    AMENDED JUDGMENT IN A CRIMINAL CASE
                                      v.                                        )
                                                                                )    Case Number: 2:13-CR-0018-JCM-GWF
                            LEON BENZER                                         )
                                                                                     USM Number: 47521-048
                                           8/6/2015
                                                                                )
Date of Original Judgment:                                                           WENDI OVERMYER, AFPD
                                           (Or Date of Last Amended Judgment)
                                                                                )    Defendant’s Attorney
                                                                                )
Reason for Amendment:
✔ Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))               )
G                                                                               )    G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                )
                                                                                     G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                             Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                                )
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))           )    G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                       to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                                )
                                                                                )    G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                )      G 18 U.S.C. § 3559(c)(7)
                                                                                     G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
✔ pleaded guilty to count(s)
G                              1 through 17 of the Indictment
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                                  Offense Ended                 Count
 18 USC§1349                         Conspiracy to Commit Mail and Wire Fraud                                             2/2009                      1

 18 USC§1343                         Wire Fraud                                                                           2/2009                      2-15
 18 USC§1341                         Mail Fraud                                                                            2/2009                     16,17
       The defendant is sentenced as provided in pages 2 through                    11           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                       G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 8/17/2018
                                                                                Date of Imposition of Judgment


                                                                                     Signature of Judge
                                                                                         JAMES C. MAHAN, U.S. DISTRICT JUDGE
                                                                                     Name and Title of Judge
                                                                                         August 21, 2018
                                                                                     Date
    AO 245C (Rev. /1) Case
                         Amended2:13-cr-00018-RTB
                                   Judgment in a Criminal Case      Document 862               Filed 08/21/18     Page 2 of 11
                          Sheet 2 — Imprisonment                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                             Judgment — Page               of          1
    DEFENDANT: LEON BENZER
    CASE NUMBER: 2:13-CR-0018-JCM-GWF

                                                                    IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
    total term of :

*   (151) months per count for Case No. 2:13-cr-0018, counts 1 to 17; and (60) months per count Case No. 2:13-cr-0174,
    counts 1 and 2 to be served concurrently.



    ✔
    G       The court makes the following recommendations to the Bureau of Prisons:
    1. As close to Las Vegas, Nevada as possible.
    2. Residential Drug Program.


    ✔
    G       The defendant is remanded to the custody of the United States Marshal.

    G       The defendant shall surrender to the United States Marshal for this district:
            G      at                                   G        a.m.     G    p.m.       on                                     .

            G      as notified by the United States Marshal.

    G       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            G      before 2 p.m. on                                               .

            G      as notified by the United States Marshal.

            G      as notified by the Probation or Pretrial Services Office.


                                                                           RETURN
    I have executed this judgment as follows:




            Defendant delivered on                                                                to

    at                                                           with a certified copy of this judgment.




                                                                                                           UNITED STATES MARSHAL


                                                                                  By
                                                                                                       DEPUTY UNITED STATES MARSHAL
                      Case 2:13-cr-00018-RTB                  Document 862           Filed 08/21/18           Page 3 of 11
AO 245C (Rev. /1) Amended Judgment in a Criminal CasH                                              (NOTE: Identify Changes with Asterisks (*))
         Sheet 3 - Supervised Release
                                                                                                                          Judgment - Page        of   1
DEFENDANT: LEON BENZER
CASE NUMBER: 2:13-CR-0018-JCM-GWF

                                                            SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: (5) years for Case No. 2:13-cr-0018, counts 1 to 12;
 (3) yers for Case No. 2:13-cr-0018, counts 13 to 17; and (3) years for Case No. 2:13-cr-0174, counts 1 and 2 to run
 concurrently.                           MANDATORY CONDITIONS
1.        You must not commit another federal, state or local crime.
2.        You must not unlawfully possess a controlled substance.
3.        You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
          imprisonment and at least two periodic drug tests thereafter, as determined by the court, not to exceed 104 tests annually.
                  G        The above drug testing condition is suspended, based on the court’s determination that you
                           pose a low risk of future substance abuse. (check if applicable)
4.        G
          ✔        You must make restitution in accordance with 18 U.S.C. §§ 3663DQG3663Aor any other statute authorizingDVHQWHQFHRI
                   restitution. (check ifapplicable)
5.       G
         ✔         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.        G        You must comply with the requirements of the Sex Offender Registration and Notification Act ( U.S.C. § , et seq.) as
                   directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
                   reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7        G        You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
AO 245C (Rev. /1) Case
                     Amended2:13-cr-00018-RTB
                              Judgment in a Criminal Case   Document 862           Filed 08/21/18          Page 4 of 11
                      Sheet 3A — Supervised Release
                                                                                                        Judgment—Page            of        1
DEFENDANT: LEON BENZER
CASE NUMBER: 2:13-CR-0018-JCM-GWF

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
AO 245C (Rev. /1) Case
                      Amended2:13-cr-00018-RTB
                               Judgment in a Criminal Case   Document 862   Filed 08/21/18      Page 5 of 11
                      Sheet 3D — Supervised Release                                            (NOTE: Identify Changes with Asterisks (*))
                                                                                             Judgment—Page              of         1
DEFENDANT: LEON BENZER
CASE NUMBER: 2:13-CR-0018-JCM-GWF

                                         SPECIAL CONDITIONS OF SUPERVISION
  1. Access to Financial Information – You must provide the probation officer access to any requested financial information
  and authorize the release of any financial information. The probation office will share financial information with the U.S.
  Attorney’s Office.

  2. Debt Obligations – You must not incur new credit charges, or open additional lines of credit without the approval of the
  probation officer.

  3. Employment Restriction – You must not engage in an occupation, business, or profession, or volunteer activity that
  would require or enable you to conduct any business in any real estate, property management, or Home Owners’
  Association related business, without the prior approval of the probation officer.

  4. No Contact – You must not communicate, or otherwise interact, with co-conspirators, either directly or through
  someone else, without first obtaining the permission of the probation office.

  5. Community Service – You must complete 100 hours of community service within the term of supervised release. The
  probation officer will supervise the participation in the program by approving the program (agency, location, frequency of
  participation, etc.). You must provide written verification of completed hours to the probation officer.

  6. Search and Seizure – You must submit your person, property, house, residence, vehicle, papers, computers (as
  defined in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a
  search conducted by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of
  release. You must warn any other occupants that the premises may be subject to searches pursuant to this condition.

  The probation officer may conduct a search under this condition only when reasonable suspicion exists that you have
  violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search must
  be conducted at a reasonable time and in a reasonable manner.

  Note: A written statement of the conditions of release was provided to the Defendant by the Probation Officer in open
  court at the time of sentencing.
AO 245C (Rev. /1) Case
                     Amended2:13-cr-00018-RTB
                              Judgment in a Criminal Case     Document 862            Filed 08/21/18        Page 6 of 11
                     Sheet 5 — Criminal Monetary Penalties                                                 (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page                of          1
DEFENDANT: LEON BENZER
CASE NUMBER: 2:13-CR-0018-JCM-GWF
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                    Assessment                    JVTA Assessment*   Fine                                  Restitution
TOTALS            $ 1,700.00                    $ 0.00             $ 0.00                                $ 12,228,913.40


G The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                Total Loss**                      Restitution Ordered                   Priority or Percentage
Vistana HOA: Attn: Richard Haskin                            $12,228,913.40
7450 Arroyo Crossing Parkway, Ste. 270

Las Vegas, NV 89113


 Park Avenue HOA:
 Park Avenue Homeowners Associate, c/o
 FirstService Residential
 8290 Arville Street
 Las Vegas, NV 89139




TOTALS                              $              12,228,913.40           $                      0.00


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      G the interest requirement is waived for          G fine       G restitution.
      G the interest requirement for the        G fine         G restitution is modified as follows:


* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245C (Rev. /1) Case
                     Amended2:13-cr-00018-RTB
                              Judgment in a Criminal Case   Document 862             Filed 08/21/18           Page 7 of 11
                     Sheet 6 — Schedule of Payments                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment — Page             of         1
DEFENDANT: LEON BENZER
CASE NUMBER: 2:13-CR-0018-JCM-GWF

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $
     G                                   1,700.00           due immediately, balance due

          G not later than                                       , or
          G in accordance with G C,              G D,       G    E, or    ✔ F below; or
                                                                          G
B    G Payment to begin immediately (may be combined with                G C,       G D, or G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G
            Schedule of payments – 10% of any income earned during incarceration and/or gross income
            while on supervision, subject to adjustment by the court based on ability to pay.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




✔ Joint and Several
G
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.

       "SEE SECOND AMENDED FINAL OMNIBUS RESTITUTION ORDER ATTACHED"



G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
          Case 2:13-cr-00018-RTB   Document 862       Filed 08/21/18   Page 8 of 11




 1
                      UNITED STATES DISTRICT COURT
 2                         DISTRICT OF NEVADA
 3                                -oOo-
 4   UNITED STATES OF AMERICA,          )
                                        )
 5               Plaintiff,             )
                                        )
 6               v.                     )
 7                                      )       CASE NO. 2:13-cr-00018-JCM-GWF
     LEON BENZER, et al.                )
 8                                      )
                 Defendants.            )
 9                                      )
                                        )
10   UNITED STATES OF AMERICA,          )
                                        )
11               Plaintiff,             )
                                        )       CASE NO. 2:12-cr-00113-JCM-VCF
12               v.                     )
                                        )
13   ROSALIO ALCANTAR, et al.           )
                                        )
14
                 Defendants.            )
15                                      )
     UNITED STATES OF AMERICA,          )
16                                      )
                 Plaintiff,             )
17                                      )       CASE NO. 2:11-cr-00336-JCM-GWF
                 v.                     )
18                                      )
     MARY ANN WATTS,                    )
19                                      )
20               Defendant.             )

21   UNITED STATES OF AMERICA,          )
                                        )
22               Plaintiff,             )         CASE NO. 2:11-cr-00339-LDG-GWF
                                        )
23               v.                     )
                                        )
24   DEBORAH GENATO,                    )
                                        )
25
                 Defendant.             )
26                                      )




                                            1
              Case 2:13-cr-00018-RTB          Document 862     Filed 08/21/18     Page 9 of 11



     UNITED STATES OF AMERICA,                     )
 1                                                 )
                     Plaintiff,                    )       CASE NO. 2:14-cr-00010-JCM-VCF
 2                                                 )
                     v.                            )
 3                                                 )
     BARRY LEVINSON,                               )       SECOND AMENDED FINAL OMNIBUS
 4                                                 )       RESTITUTION ORDER
 5                   Defendant.                    )
 6

 7            Based on findings made during the sentencings of the individual defendants enumerated
 8   below, the Court hereby enters the following order regarding restitution in the above-captioned
 9   cases.
10            The following defendants are ordered to pay up to the following dollar amounts, jointly
11   and severally, as restitution to the Vistana Homeowners’ Association and the Park Avenue
12   Homeowners’ Association. Of restitution payments received, 99.8% shall be directed to the
13   Vistana HOA, and 0.2% shall be directed to the Park Avenue HOA, as is commensurate with
14   their share of the restitution awards.
15

16                                                                      Restitution Amount
                                                                        (Joint and Several
17                Defendant Name                Case Number                  Liability)
               Alcantar, Rosalio         2:12-cr-00113-JCM-VCF                    $25,826.20
18
               Alvarez, Jose Luis        2:13-cr-00018-JCM-GWF                   $184,200.84
19             Alvarez-Rodriguez,
               Rudolfo                   2:13-cr-00018-JCM-GWF                    $119,585.81
20             Anderson, Ricky           2:13-cr-00018-JCM-GWF                     $41,642.49
21             Benzer, Leon              2:13-cr-00018-JCM-GWF                 $12,228,913.40
               Bolten, Robert            2:12-cr-00113-JCM-VCF                    $135,932.36
22             Brown, Glenn              2:12-cr-00113-JCM-VCF                      $5,295.00
23             Deluca, Michelle          2:12-cr-00113-JCM-VCF                     $10,000.00
               Genato, Deborah           2:11-cr-00339-LDG-GWF                     $30,000.00
24             Gillespie, Edith          2:13-cr-00018-JCM-GWF                     $85,780.00
25

26




                                                       2
          Case 2:13-cr-00018-RTB          Document 862         Filed 08/21/18    Page 10 of 11




             Gregory, Keith            2:13-cr-00018-JCM-GWF                 $12,154,913.401
 1
             Hawkins, Charles          2:12-cr-00113-JCM-VCF                    $147,884.00
 2           Hindiyeh, Sami            2:12-cr-00113-JCM-VCF                       $6,000.00
             Jones, Brian              2:12-cr-00113-JCM-VCF                      $10,000.00
 3
             Levinson, Barry           2:14-cr-00010-JCM-VCF                 $12,228,913.402
 4           Limon, Maria              2:13-cr-00018-JCM-GWF                      $24,000.00
             Mattingly, Morris         2:12-cr-00113-JCM-VCF                    $190,471.03
 5
             Watts, Mary Ann           2:11-cr-00336-JCM-GWF                      $39,350.00
 6           Winkler, Jeanne           2:12-cr-00113-JCM-GWF                      $47,000.00
 7

 8          These funds should be directed to the following:
 9                 Vistana HOA: Attn: Richard Haskin, 7450 Arroyo Crossing Parkway, Suite 270,
10                  Las Vegas, NV 89113
11                 Park Avenue HOA: Park Avenue Homeowners Association, c/o FirstService
12                  Residential, 8290 Arville Street, Las Vegas, NV 89139
13          In addition, once Defendant Leon Benzer has satisfied his mandatory restitution to the
14   above-listed HOAs (or other defendants have paid the $12,228,913.40 he owes to those HOAs),
15   Defendant Leon Benzer is hereby ordered to pay $1,165,186.81 in restitution to the United States
16   Treasury, pursuant to the restitution award in United States v. Benzer, Case No. 2:13-cr-174-
17   KJD-CWH. These funds should be directed to: IRS-RACS, Attn: Mail Stop 6261, Restitution,
18   333 W. Pershing Ave., Kansas City, MO 64108.
19   /
20   /
21   /
22

23   1
            The Court originally ordered Defendant Gregory to pay $12,604,913.40 in restitution.
            However, Defendant Gregory should have received a credit for the $450,000 paid to
24          Silver Lining Construction but ultimately recovered by the Vistana HOA, and his
25          restitution amount is hereby reduced by that amount.
     2
            The Court originally ordered Defendant Levinson to pay $19,000,000 in restitution.
26          However, given that Defendant Leon Benzer was ordered to pay $12,228,913.40 in
            restitution and Leon Benzer was the leader of the conspiracy, Defendant Levinon’s
            restitution award should not exceed Defendant Benzer’s.


                                                     3
     Case 2:13-cr-00018-RTB     Document 862    Filed 08/21/18      Page 11 of 11




 1    IT IS SO ORDERED.

 2           August 18, 2015.
      Dated: ____________

 3

 4                       ENTERED: _________________________

 5

 6                                   United States District Judge

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 8

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